Case 2:15-cv-01673-JCM-GWF Document 17-6 Filed 02/01/16 Page 1 of 2




                     EXHIBIT 6
               Hon. Enrique Romero
         Case 2:15-cv-01673-JCM-GWF Document 17-6 Filed 02/01/16 Page 2 of 2

                               HON. ENRIQUE ROMERO
                                  Los Angeles County Superior Court
                                                      (Retired)




JUDICIAL OFFICES HELD

1992 - 1999: Superior Court Judge, Los Angeles County
Assignments included: Individual Calendar, Central Civil; Supervising Judge of the South Central District; Family
Law, Probate, Master Civil Calendar, Law and Motion Calendar Assignments in South Central District. As a
Superior Court Judge, Judge Romero sat in various committees, including the Executive Committee, the
Supervising Judges’ Committee, the Bench/Bar Local Rules Committee, and the Complex Construction Defects
Task Force.

1988 – 1991: Municipal Court Judge, Los Angeles
In addition, Judge Romero served in a number of Judicial Council committees, including the Civil and Small Claims
Advisory Committee to the Judicial Council, and participated in a number of educational seminars for judges
sponsored by the Judicial Council.

AREAS OF EXPERTISE

For the past 15 years, Judge Romero has settled thousands of cases averaging between $300 million - $500 million
in settlements each year. Judge Romero has extensive experience in, among other areas, environmental insurance
coverage cases, eminent domain, all aspects of wrongful termination, product liability cases, massive toxic tort
litigation, class actions, complex business litigation, intellectual property, entertainment law, complex construction
defects cases, insurance coverage and bad faith, legal, accounting and medical malpractice, police misconduct, civil
rights litigation and complex business dissolution cases. As a judge, Judge Romero conducted settlements in other
states besides California and in the United Kingdom in cases involving Lloyds of London.

LEGAL EXPERIENCE

Assistant United States Attorney in the Office of the United States Attorney for the Central District of California;
Special Assistant United States Attorney for the Southern District of Florida; Special Assistant to the Deputy
Assistant Attorney General, Civil Rights Division of the United States Department of Justice; Trial Attorney,
Criminal Section of the Civil Rights Division, United States Department of Justice; civil practice in San Francisco.
As an attorney, Judge Romero tried over 70 jury trials in federal courts throughout the United States and handled
over 30 appeals before the United States Ninth Circuit Court of Appeals.

EDUCATION

GEORGETOWN UNIVERSITY LAW CENTER, Master of Laws in Taxation (1980)
UNIVERSITY OF SAN FRANCISCO LAW SCHOOL, J.D. (1976)
UCLA, Master of Public Administration, (1970)
UCLA, B.A. (Spanish), (1969)
UCLA, B.A. (History), (1968)

HONORS/AWARDS

2001 – 2013     Daily Journal “Top Neutral”

2005 – 2010     The Hollywood Reporter “Entertainment Power Mediator”




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